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Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Firstbase.io, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  26 Mercer, 3rd Floor                                            Unit 187, Floor 2, 447 Broadway,
                                  New York, NY 10013                                              New York, NY 10013
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    Firstbase.io, Inc.                                                                           Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known



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Debtor   Firstbase.io, Inc.                                                                        Case number (if known)
         Name

11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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Debtor   Firstbase.io, Inc.                                                                        Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       September 25, 2024
                                                  MM / DD / YYYY


                              X /s/ Mark Milastsivy                                                       Mark Milastsivy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Executive Officer




18. Signature of attorney     X /s/ Dawn Kirby                                                             Date    September 25, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Dawn Kirby
                                 Printed name

                                 Kirby Aisner & Curley LLP
                                 Firm name

                                 700 Post Road
                                 Suite 237
                                 Scarsdale, NY 10583
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (914) 401-9500                Email address      dkirby@kacllp.com

                                 2733004 NY
                                 Bar number and State




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                                                             United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Firstbase.io, Inc.                                                                                       Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Mark Milastsivy                                                                                                                Majority Shareholder
 26 Mercer, 3rd Floor
 New York, NY 10013


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury that
I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date       September 25, 2024                                               Signature /s/ Mark Milastsivy
                                                                                           Mark Milastsivy

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                         United States Bankruptcy Court
                                          Southern District of New York
 In                                                                              Case
 re     Firstbase.io, Inc.                                                       No.
                                                         Debtor(s)               Chapter 11


              STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

        I, Mark Milastsivy , declare under penalty of perjury that I am the Chief Executive Officer of Firstbase.io,
Inc., and that the following is a true and correct copy of the resolutions adopted by the Board of Directors of said
corporation at a special meeting duly called and held on the 25th day of September, 2024 .

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Mark Milastsivy , Chief Executive Officer of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Mark Milastsivy , Chief Executive Officer of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

       Be It Further Resolved, that Mark Milastsivy , Chief Executive Officer of this Corporation is authorized
and directed to employ Dawn Kirby , attorney and the law firm of Kirby Aisner & Curley LLP to represent the
corporation in such bankruptcy case."

Date September 25, 2024                                Signed /s/ Mark Milastsivy
                                                              Mark Milastsivy




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                                         Resolution of Board of Directors
                                                        of
                                                 Firstbase.io, Inc.



      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Mark Milastsivy , Chief Executive Officer of this Corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11
voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that Mark Milastsivy , Chief Executive Officer of this Corporation is authorized
and directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in
connection with such bankruptcy case, and

       Be It Further Resolved, that Mark Milastsivy , Chief Executive Officer of this Corporation is authorized
and directed to employ Dawn Kirby , attorney and the law firm of Kirby Aisner & Curley LLP to represent the
corporation in such bankruptcy case.

Date September 25, 2024                                Signed    /s/ Mark Milastsivy


Date September 25, 2024                                Signed /s/ Mark Milastsivy




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                                                             United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Firstbase.io, Inc.                                                                                 Case No.
                                                                                   Debtor(s)                   Chapter     11




                                              VERIFICATION OF CREDITOR MATRIX


I, the Chief Executive Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:        September 25, 2024                                        /s/ Mark Milastsivy
                                                                        Mark Milastsivy /Chief Executive Officer
                                                                        Signer/Title




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                           415x Trust
                           340 S Lemon Ave 2415
                           Walnut, CA 91789


                           449 Broadway LLC
                           73 Spring Street, 6th Floor
                           New York, NY 10012


                           8796041 Canada Inc. DBA Granicus Grp.
                           5369 Boul Saint Laurent, Montreal QC Can


                           Adam Wiggins
                           382 NE 191st #30776
                           Miami, FL 33179


                           AMINO Capital III, LP
                           2991 Alexis Dr.,
                           Palo Alto, CA 94304


                           AMINO Capital III, LP
                           346 Emerson Street
                           Palo Alto, CA 94301


                           AN Investment Co., Ltd.
                           28, Digital-ro 33-gil, Suite 1113, Guro-


                           Andy Louis- Charles
                           11232 Sorrel Ridge Lane
                           Oakton, VA 22124


                           Arc Technologies Inc.
                           30 Broad Street, 29th Floor
                           New York, NY 10004


                           Benjamin Spiro
                           2020 N Bayshore Dr. Apt 3608
                           Miami, FL 33137


                           Benjamin W21 Demo Day Fund
                           PO Box 3217
                           Seattle, WA 98114


                           Bookmate Corporation
                           8 The Grn
                           Dover, DE 19901


                           Bradley A. Peters
                           239 Black Oak Circle
                           Coppell, TX 75019


                           Cedric Dussud
                           80 N Moore St., Apt 17B
                           New York, NY 10013
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                           CFT Clear Finance Technology Corp.
                           33 Yonge Street, Suite 1302, Toronto, On


                           Cmprssr LLC
                           2650 NE Alameda St.
                           Portland, OR 97212


                           Corporation Service Company
                           PO Box 2576
                           Springfield, IL 62708


                           Crystal Towers Capital II, LP
                           144 Pacchetti Way
                           Mountain View, CA 94040


                           CT Corporation System, as Representative
                           Attn: SPRS
                           330 N Brand Blvd., Suite 700
                           Glendale, CA 91203


                           Daniel Olinsky
                           2140 Fell St., Apt. 301
                           San Francisco, CA 94117


                           David Dat Nguyen
                           3850 W Nevso Drive, Unit 434
                           Las Vegas, NV 89103


                           Deel Inc. (Capbase, Inc.)
                           584 Castro Street, Suite 3096
                           San Francisco, CA 94114


                           Dilworth Paxson LLP
                           PO Box 825921
                           Philadelphia, PA 19182-5921


                           DMRUS pty Ltd.
                           2 Waratah Street, Balgowlah, NSW 2093


                           Doyoon Kim
                           309, Apgujeong-ro APT. 91-901 Gangnam-gu


                           eShares Inc. DBA Carta
                           333 Bush Street, Suit 2300
                           San Francisco, CA 94104


                           eShares, Inc. DBA Carta Inc.
                           333 Bush St., Floor 23, Ste. 2300, San F
                           San Francisco, CA 94104


                           FBRA LLC
                           1023 E Lincolnway
                           Cheyenne, WY 82001
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                           Firstbase Agent LLC
                           1007 N Orange Street, 4th Floor, Suit 13
                           Wilmington, DE 19801


                           Firstbase Registered Agent Inc.
                           1007 N Orange St. 4th Floor STE 1382
                           Wilmington, DE 19801


                           Flicker Two LLC
                           c/o Jordan Park, 100 Pine St., 26th Floo
                           San Francisco, CA 94111


                           Founder Institute, Incorporated
                           265 Cambridge Avenue, #60417
                           Palo Alto, CA 94306


                           Glen Ridge Ventures LLC
                           16192 Costal Highway
                           Lewes, DE 19958


                           Google LLC
                           1600 Amphitheatre Parkway
                           Mountain View, CA 94043


                           Graphene Ventures III, LP
                           530 Lytton Avenue, 2nd Floor
                           Palo Alto, CA 94301


                           Harbor Business Compliance Corp.
                           c/o Royer Cooper Cohen Braunfield, LLP,
                           Philadelphia, PA 19103


                           Hib Girsim Sermayesi Yatirim Ortakligi
                           Esentepe Mahallesi Buyukdere Cad. No.: 2


                           Impact Ventures LLC
                           1861 Santa Barbara Drive
                           Lancaster, PA 17601


                           Internal Revenue Service
                           Centralized Insolvency Operations
                           PO Box 7346
                           Philadelphia, PA 19101-7346


                           Jeff Chen
                           15 Renwick St. #202
                           New York, NY 10013


                           John Wallace
                           365 Day St.
                           San Francisco, CA 94131


                           Jonathan Matthew Long
                           4658 18th Street
                           San Francisco, CA 94114
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                           Juris Logic LLC
                           25 NW 23rd Place, Suite 6 PMB 169
                           Portland, OR 97210


                           KL Discovery Ontrack LLC
                           9023 Columbine Road
                           Eden Prairie, MN 55347


                           Laura Allen
                           4658 18th Street
                           San Francisco, CA 94114


                           Law Office of Christine Hanley
                           2041 A NW 60th Street
                           Seattle, WA 98107


                           Li Family Trust
                           3157 Steiner St.
                           San Francisco, CA 94123


                           Mark Milastsivy
                           26 Mercer, 3rd Floor
                           New York, NY 10013


                           Nakhla Ventures Ltd.
                           2 Apostolos Varnavas, Centaur House, Nis


                           Nakhla Ventures Ltd.
                           2 Apostolos Varnavas, Centaur House, Nis


                           Nikita Kozlovskij
                           13074 La Cresta Dr,
                           Los Altos, CA 94022


                           Nkechi Temilola Iregbulem
                           4210 Mesa Street
                           Torrance, CA 90505


                           Novel Growth Partners Cali Investments
                           6701 W 64th Street, Suite 300
                           Mission, KS 66202


                           NYS Dept. of Taxation & Finance
                           Bankruptcy/ Special Procedures Section
                           PO Box 5300
                           Albany, NY 12205-0300


                           Ola Oyetayo
                           Flat 14, Wheat House, 4 Peacock Close, L


                           OU Notorious
                           Toostuse 47d-69, 10416 Tallinn, Estonia
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                           OU Notorious
                           Toostuse 47d- 69, 10416 Tallinn, Estonia


                           OU Notrorious
                           Toostuse 47d-69, 10416 Tallin, Estonia


                           Oyster Utopian Fund I, Ltd.
                           1887 Whitney Mesa Dr. #7139
                           Henderson, NV 89014


                           Payoneer Inc.
                           195 Broadway, 27th Floor
                           New York, NY 10007


                           Pearmill Inc,
                           169 Madison Ave #2020
                           New York, NY 10016


                           Pipe Advance LLC
                           548 Market St. PMB 93796
                           San Francisco, CA 94104-5401


                           Quinn Emanuel Urquhart & Sullivan
                           865 S. Figueroa Street, 10th Floor
                           Los Angeles, CA 90017


                           Ramon Recuero
                           1 Henry Adams N608
                           San Francisco, CA 94103


                           Raphael Shorser
                           1248 Bates Rd.
                           Oakland, CA 94610


                           Scieniti LLC
                           1104 Linnea Lane
                           Southlake, TX 76092


                           Share Capital LLC
                           341 Filbert St.
                           San Francisco, CA 94133


                           Snowy Maple Ventures LLC
                           101A Clay Street #105
                           San Francisco, CA 94111


                           Software Holdings Pty Ltd.
                           ATF Software Holdings Unit Trust
                           38 Murranar Road, Towradgi, NSW 2518, Au


                           Spano Angel LLC
                           2 Calle Nairn, San Juan, 00907, Puerto R
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                           Sphere 5200, Inc.
                           230 California Ave, Suite 212
                           Palo Alto, CA 94306


                           Stenn Assets USA
                           1201 Peachtree St. NE Bldg. 400 STE 300
                           Atlanta, GA 30361-3507


                           Stephen Hopkins
                           561 Pacific St., Apt 703
                           Brooklyn, NY 11213


                           Stripe Servicing Inc.
                           199 Water St., Floor 30
                           New York, NY 10038


                           Tarraganda Holdings ATF
                           48 Moore Wren Road, Tarraganda NSW 2550,


                           Tarraganda Holdings Pty Ltd.
                           ATF Tarraganda Superannuation Fund
                           48 Moore Wren Road, Tarraganda NSW 2550,


                           Wang Capital Ltd.
                           61 St. Vincent Ave, Remuera, Auckland, N


                           Yan Biao Boey
                           219 Kingford Ln
                           Redwood City, CA 94061
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                                                                     United States Bankruptcy Court
                                                                       Southern District of New York
  In re      Firstbase.io, Inc.                                                                              Case No.
                                                                                      Debtor(s)              Chapter     11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Firstbase.io, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Mark Milastsivy
 26 Mercer, 3rd Floor
 New York, NY 10013




     None [Check if applicable]




  September 25, 2024                                                     /s/ Dawn Kirby
 Date                                                                    Dawn Kirby
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Firstbase.io, Inc.
                                                                         Kirby Aisner & Curley LLP
                                                                         700 Post Road
                                                                         Suite 237
                                                                         Scarsdale, NY 10583
                                                                         (914) 401-9500 Fax:
                                                                         dkirby@kacllp.com




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